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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                          Case No.    ~ ?...- 8 0/05-<::!£ - J)MH


     UNITED STATES OF AMERICA

     v.
     BLAKE FISHMAN                                                              SEP O6 2022
                                                                                ANGELA E. NOBLE
                    Defendant.                                                 CLERK U S. DIST. CT.
                                                                               SD. OF FLA .- WP.B.
     - - - - - - - - - - - - - - - -I
                                           PLEA AGREEMENT

             The United States of America, by and through the Fraud Section of the Criminal Division

     of the Department of Justice and the United States Attomey's Office for the Southern District of
                                                                                                             I
                                                                                                             I -
     Florida (hereinafter referred to as the ''United States"), and Blake Fishman (hereinafter refen-ed to

     as the "Defendant"), enter into the following agreement:

             1.     The Defendant agrees to plead guilty to Count 1 of the Information. Count 1

     charges that the Defendant knowingly and willfully combined, conspired, confederated, and

     agreed with others, in violation of Title 18, United States Code, Section 1349, to commit health

     care fraud and wire fraud, that is: (a) to knowingly and willfully execute a scheme and artifice to

     defraud a health care benefit program affecting commerce, as defined in Title 18, United States

     Code, Section 24(b), that is, Medicare, and to obtain, by means of materially false and fraudulent

     pretenses, representations, and promises, money and property owned by, and under the custody

     and control of, said health care benefit progran1, in connection with the delivery of and payment

     for health care benefits, items, and services, in violation of Title 18, United States Code, Section
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     1347; and (b) to knowingly and with the intent to defraud, devise and intend to devise a scheme

     and artifice to defraud and for obtaining money and property by means of materially false and

     fraudulent pretenses, representations, and promises, knowing the pretenses, representations, and

     promises were false and fraudulent when made, and for the purpose of executing the scheme and

     artifice, did knowingly transmit and cause to be transmitted by means of wire communication in

     interstate commerce, certain writings, signs, signals, pictures, and sounds, in violation of Title 18,

     United States Code, Section 1343.

             2.     The Defendant is aware that the sentence will be imposed by the Court. The

     Defendant understands and agrees that federal sentencing law requires the Court to impose a

     sentence that is reasonable and that the Court must consider the United States Sentencing

     Guidelines and Policy Statements (hereinafter the "Sentencing Guidelines") in determining that

     reasonable sentence. The Defendant acknowledges and understands that the Court will compute

     an advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be

     determined by the Court relying in part on the results of a presentence investigation by the-United

     States Probation Office (''Probation"), which investigation will commence after the guilty plea has

     been entered. The Defendant is also aware that, under certain circumstances, the Court may depart

     from the advisory Sentencing Guidelines range that it has computed, and may raise or lower that

     advisory sentence under the Sentencing Guidelines.          The Defendant is further aware and

     understands that while the Court is required to consider the advisory guideline range dete1mined

     under the Sentencing Guidelines, it is not bound to impose that sentence. Defendant understands

     that the facts that determine the offense level will be found by the Comt at the time of sentencing

     and that in making those determinations the Court may consider any reliable evidence, including


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     hearsay, as well as the provisions or stipulations in this Plea Agreement. The United States and

     the Defendant agree to recommend that the Sentencing Guidelines should apply pursuant to United

     States v. Booker, that the Sentencing Guidelines provide a fair and just resolution based on the

     facts of this case, and that no upward or downward departures are appropriate other than the

     reductions for acceptance ofresponsibility. The Court is permitted to tailor the ultimate sentence

     in light of other statutory concerns, and such sentence may be either more severe or less severe

     than the Sentencing Guidelines' advisory sentence.        Knowing these facts, the Defendant

     understands and acknowledges that the Court has the authority to impose any sentence within and

     up to the statutory maximum authorized by law for the offenses identified in paragraph 1 and that

     the Defendant may not withdraw the plea solely as a result of the sentence imposed.

             3.     The Defendant also understands and acknowledges that as to the offense of

     conspiracy to commit health care fraud and wire fraud, as charged in Count 1, the Court may

     impose a statutory maximum term of imprisonment ofup to twenty (20) years. In addition to any

     period of imprisonment the Court may also impose a period of supervised release of up to three

     (3) years to commence at the conclusion of the period of imprisonment. In addition to a term of

     imprisonment and supervised release, the Court may impose a fine of up to the greater of $250,000,

     or twice the pecuniary gain or loss pursuant to 18 U.S.C. § 357l(d),

            4.      The Defendant fmther understands and acknowledges that, in addition to any

     sentence imposed under paragraph 3 of this Agreement, a special assessment in the total amount

     of $100.00 will be imposed on the Defendant. The Defendant agrees that any special assessment

     imposed shall be paid at the time of sentencing.




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             5.      The Defendant understands and acknowledges that as a result of this plea, the

     Defendant will be excluded as a provider from Medicare, Medicaid, and all federal health care

     programs. Defendant agrees to complete and execute all necessary documents provided by any

     department or agency of the federal government, including but not limited to the United States

     Depruiment of Health and Human Services, to effectuate this exclusion within 60 days of receiving

     the documents, This exclusion will not affect Defendant's right to apply for and receive benefits

     as a beneficiary under any federal health care program, including Medicare and Medicaid.

             6,     The Defendant recognizes that pleading guilty may have consequences with respect

     to the Defendant's immigration status if the Defendant is not a natural-born citizen of the United

     States. Under federal law, a broad rru1ge of crimes are removable offenses, including the crimes

     to which the Defendant is pleading guilty.           In addition, under certain circumstances,

     denaturalization may also be a consequence of pleading guilty to a crime.                 Removal,

     denaturalization, and other immigration consequences are the subject of a separate proceeding,

     however, and Defendant understands that-no one, including the Defendant's attorney or the Court,

     can predict to a certainty the effect of the Defendant's conviction on the Defendant's immigration

     status. The Defendant nevertheless affirms that the Defendant chooses to plead guilty regardless

     of any immigration consequences that the Defendant's plea may entail, even if the consequence is

     the Defendant's denaturalization and automatic removal from the United States.

            7.      The Defendant shall cooperate with law enforcement officials, attorneys with the

     United States ·Department of Justice and United States Attorney's Office for the Southern District

     of Florida, and with federal regulatory officials charged with regulating or overseeing the Medicare

     program by providing full, complete, and truthful information regarding bis knowledge, conduct,


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     and actions while involved in health care and by providing active cooperation in ongoing

     investigations ifrequested to do so. If called upon to do so, the Defendant shall provide complete

     and truthful testimony before any grand jury or trial jury in any criminal case, in any civil

     proceeding or tJ.ial, and in any administrative proceeding or hearing. In carrying out his obligations

     under this paragraph, Defendant shall neither minimize his own involvement nor fabricate,

     minimize or exaggerate the involvement of others. If the Defendant intentionally provides any

     incomplete or untruthful statements or testimony, his actions shall be deemed a material breach of

     this Agreement and the United States shall be free to pursue all appropriate charges against him

     notwithstanding any agreements to forbear from bringing additional charges as may be otherwise

     set forth in this Agreement.

            8.      The Defendant shall provide the Probation Office and counsel for the United States

     with a full, complete, and accurate personal financial statement. If the Defendant provides

     incomplete or untruthful statements in his personal financial statement, this action shall be deemed

     a material breach of this Agreement and the United States shall be free to pursue all appropriate

     charges against him notwithstanding any agreements to forbear from bringing additional charges

     otherwise set forth in this Agreement.

            9.      Provided that the Defendant commits no new 'criminal offenses and provided that

     he continues to demonstrate an affirmative recognition and affirmative acceptance of personal

     responsibility for his criminal conduct, the United States agrees that it will recommend at

     sentencing that the Defendant receive a three-level reduction for acceptance of responsibility

     pursuant to Section 3El.1 of the Sentencing Guidelines, based upon the Defendant's recognition

     and affirmative and timely acceptance of personal responsibility. The United States, however, will


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      not be required to make this sentencing recommendation if the Defendant: (1) fails or refuses to

      make a full, accurate, and complete disclosure to the United States and Probation of the

      circumstances smrnunding the relevant offense conduct and his present financial condition; (2) is

      found to have misrepresented facts to the United States prior to entering this Plea Agreement; or

      (3) commits any misconduct after entering into this Plea Agreement, including but not limited to

     committing a state or federal offense, violating any term ofrelease, or maldng false statements or

     misrepresentations to any governmental entity or official.

                10.      The United States reserves the right to inform the Court and Probation of all facts

     pertinent to the sentencing process, including all relevant information concerning the offenses

     committed, whether charged or not, as well as concerning the Defendant and the Defendant's

     background. Subject only to the express terms of any agreed-upon sentencing recommendations

     contained in this Plea Agreement, the United States further reserves the right to make any

     recommendation as to the quality and quantity of punishment.

                11.      The United States reserves the right to evaluate the nature and extent of the

     Defendant's cooperation and to make the Defendant's cooperation, or lack thereof, known to the

     Court at the time of sentencing. If in the sole and unreviewable judgment of the United States the

     Defendant's cooperation is of such quality and significance to the investigation or prosecution of

     other criminal matters as to warrant the Court's downward departure from the sentence advised by

     the Sentencing Guidelin,es, the United States may at or before sentencing malce a motion pursuant

     to Title 18, United States Code, Section 3553(e), Section 5Kl.1 of the Sentencing Guidelines, or

     subsequent to sentencing by motion pursuant to Rule 35 of the Federal Rules of Criminal

     Procedure:ricting tliat the Defendant has provided substantial assistance and recommending a


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     sentence reduction. The Defendant acknowledges and agrees, however, that nothing in this

     Agreement may be construed to require the United States to file such a motion and that the United

     States' assessment of the nature, value, truthfulness, completeness, and accuracy of the

     Defendant's cooperation shall be binding on the Defendant.

            12.     The Defendant understands and acknowledges that the Court is under no obligation

     to grant a motion by the United States pursuant to Title 18, United States Code, Section 3553(e),

     5Kl.1 of the Sentencing Guidelines or Rule 35 of the Federal Rules of Criminal Procedure, as

     referred to in paragraph 11 of this Agreement, should the United States exercise its discretion to

     file such a motion.

            13.     The United States and the Defendant agree that, although not binding on Probation

     or the Court, they will jointly recommend that the Comi make the following findings and

     conclusions as to the sentence to be imposed:

            (a)     Base Offense Level: That the Defendant's base offense level is seven (7), in

                    accordance with U.S.S.G. § 2Bl. l(a)(l); and

            (b)     Loss: That the Defendant's offense level shall be increased by eighteen (18) levels

                    pursuant to U.S.S.G. § 2Bl.l(b)(l)(J) because the loss amount was more than

                    $3,500,000 but less than $9,500,000; and

            (c)     Federal Health Care Fraud Enhancement: That the Defendant's offense level shall

                    be increased by two (2) levels pursuant to U.S .S. G. § 2B 1, 1(b )(7)(B)(i) because the

                    offense constituted a federal health care offense involving a Government health

                   care pro gram, and the loss amount to the Government health care pro gram exceeded

                   $1,000,000.


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             TOTAL OFFENSE LEVEL - UNADJUSTED

             (e)     Acceptance of Responsibility:         That the Defendant's offense level shall be

                     decreased by three (3) levels pursuant to U.S.S.G. §§ 3El.l(a) and 3El.l(b)

                     because the Defendant has demonstrated acceptance of responsibility for his

                     offense and assisted authorities in the investigation of and prosecution of his own

                     misconduct by timely notifying authorities of his intention to enter a plea of guilty.

             TOTAL OFFENSE LEVEL - ADJUSTED                                                 24

             14.     The Defendant acknowledges and understands that additional or different

     enhancements or provisions of the Sentencing Guidelines might be applicable, and that neither the

     Court nor Probation are bound by the parties' joint recommendations.                                        i
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             15.     The Defendant knowingly agrees to immediately and voluntarily forfeit to the

     United States of America, pursuant to Title 18, United States Code, Section 982(a)(7), all property,

     real or personal, that constitutes or is derived, directly or indirectly, from gross proceeds traceable .

     to the offense to which Defendant is pleading guilty. The Defendant agrees that $455,200 is the

     total value of the gross proceeds traceable to his health care fraud and wire fraud conspiracy.

             16,    The Defendant agrees to the entry of a forfeiture money judgment in the amount of

     $455,200 ("Forfeiture Money Judgment"). The Defendant lrnowingly and voluntarily agrees that

     he shall not, in ariy manner, act in opposition to the United States seeking entry of, and satisfying,

     the Forfeiture Money Judgment. The Defendant also agrees to assist this Office in all proceedings,

     administrative or judicial, in satisfying the Forfeiture Money Judgment. The assistance shall

     include: identification of property available to satisfy the Forfeiture Money Judgment, and the

     transfer of such property to the United States by delivery to this Office upon this Office's request,


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     any necessary and appropriate documentation, including consents to forfeiture and quit claim

     deeds, to deliver good and marketable title to such property, as well as tmthful and complete

     testimony in any forfeiture civil or ancillary proceeding as against third parties who may claim an

     interest in such assets. Defendant agrees that the United States may seek substitute assets within

     the meaning of 21 U.S.C. § 853.

             17.      The Defendant knowingly and voluntarily waives any right he may have to an

     appeal of the Forfeiture Money Judgment, agrees to waive any claim or constitutional, legal or

     equitable defense the Defendant may have with respect to such order, including any claim of

     excessive     fine    or    penalty   under   the   Eighth   Amendment      to   the   United   States

     Constitution. Additionally, the Defendant waives the statute of limitations, and any notice

     requirements, with respect to forfeitures resulting from this case.

             18.     In furtherance of the collection of the Forfeiture Money Judgment and restitution

     judgment, the Defendant agrees to the following:

                     (a)        The Defendant agrees to make full and accurate disclosure of his :financial

     affairs to the United States Department of Justice, the United States Attorney's Office and the

     United States Probation Office. Specifically, the Defendant agrees that within 10 calendar days

     of the signing of this Plea Agreement, the Defendant shall submit a completed Financial Disclosure

     Statement (form provided by the United States), and shall fully disclose and identify all assets in

     which he has any interest and/or over which the Defendant exercises control, directly or indirectly,

     including those held by a spouse, nominee, or other third party, whether located within or outside

     of the United States.        The Defendant agrees to provide, in a timely manner, all financial

     information requested by the United States Attorney's Office and U.S. Probation Office, and upon


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      request, to meet in person to identify assets/monies which can be used to satisfy the Forfeiture

      Money Judgment and/or the restitution judgment. In addition, the Defendant expressly authorizes

      the United States Attorney's Office to obtain a credit report.

                      (b)     The Defendant agrees that he will not sell, hide, waste, encumber, destroy,

      or otherwise devalue any asset without prior approval of the government, until the Forfeiture

      Money Judgment and his restitution judgment are paid in full. The Defendant shall also identify

      any transfer of assets valued in excess of $5,000.00 since the date of his infonnation or when he

      became aware of the criminal investigation, including the identity of the asset, the value of the

      asset, the identity of the third party to whom the asset was transferred, and the current location of

      the asset.

                      (c)    The Defendant agrees to cooperate fully in the investigation and the

      identification of assets to be applied toward forfeiture and restitution. The Defendant agrees that

     providing false or incomplete information about his financial assets, or hiding, selling, transferring

      or devaluing assets and/or failing to cooperate fully in the investigation and identification of assets

     may be used as a basis for: '(i) separate prosecution, including, under 18 U.S.C. § 1001; or (ii)

     recommendation of a denial of a reduction for acceptance of responsibility pursuant to Sentencing

     Guidelines§ 3El.1.

                     (d)     The Defendant further agrees to liquidate assets, or complete any other tasks

     which will result in immediate payment of the Forfeiture Money Judgment and the restitution

     judgment in full, or full payment in the shortest amount of time, as requested by the government.




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                      (e)     The Defendant shall notify, within 30 days, the Clerk of the Court and the

      United States Attorney's Office of: (i) any change of name, residence, or mailing address, and (ii)

      any material change in economic circumstances that affects the ability to pay the Forfeiture.

                19.   The Defendant acknowledges that because the offenses of conviction occun-ed after

      April 24, 1996, restitution is mandatory without regard to the Defendant's ability to pay and that

      the Court must order the Defendant to pay restitution for the full loss caused by his criminal
                                                                                                            I
      conduct pursuant to 18 U.S.C. § 3663A. Furthennore, the Defendant stipulates that he owes
                                                                                                            I
      restitution in the amount of $3,022,606, jointly and severally with his co-conspirators.
                                                                                                            I
                20.   The Defendant is aware that the sentence has not yet been determined by the Court.    I
                                                                                                            I
     The Defendant is also aware that any estimate of the probable sentencing range or sentence that        II
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     the Defendant may receive, whether that estimate comes from the Defendant's attorney, the United       i
                                                                                                            I




      States, or Probation, is a prediction, not a promise, and is not binding on the United States,

     Probation or the Court. The Defendant understands further that any recommendation that the

     United States makes to the Court as to sentencing, whether pursuant to this Agreement or

     otherwise, is not binding on the Court and the Couit may disregard the recommendation in its

     entirety. The Defendant understands and acknowledges, as previously acknowledged in paragraph

     2 above, that the Defendant may not withdraw his plea based upon the Court's decision not to

     accept a sentencing recommendation made by the Defendant, the United States, or a

     recommendation made jointly by both the Defendant and the United States.

                21.   The Defendant is aware that Title 18, United States Code, Section 3742 affords him

     the right to appeal the sentence imposed in this case. Acknowledging this, in exchange for the

     undert7e by the United States in this Plea Agreement, the Defendant hereby waives all


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      rights conferred by Section 3742 to appeal any sentence imposed, including any forfeiture or

      restitution ordered, or to appeal the manner in which the sentence was imposed, unless the sentence

      exceeds the maximum pennitted by statute or is the i-esult of an upward departure and/or a variance

      from the Sentencing Guidelines range that the Court establishes at sentencing. In addition to the

      foregoing provisions, the defendant hereby waives all rights to argue on appeal that the statute to

      which the defendant is pleading guilty is unconstitutional and that the admitted conduct does not

      fall within the scope of the statute. The Defendant further understands that nothing in this

      Agreement shall affect the right of the United States and/or its duty to appeal as set fo1th in Title

      18, United States Code, Section 3742(6). However, if the United States appeals the Defendant' s

     sentence pursuant to Section 3742(6), the Defendant shall be ~eleased from the above waiver of

     appellate rights. By signing this Agreement, the Defendant acknowledges that he has discussed

     the appeal waiver set forth in this Agreement with his attorney. The Defendant further agrees,

     together with the United States, to request that the Court enter a specific finding that the

     Defendant's waiver of his right to appeal the sentence to be imposed in this case was knowing and

     voluntary.

             22.     For purposes of criminal prosecution, this Plea Agreement shall be binding and

     enforceable upon the Fraud Section of the Criminal Division of the United States Department of

     Justice and the United States Attorney's Office for the Southern District of Florida. The United

     States does not release Defendant from any claims under Title 26, United States Code. Further,

     this Agreement in no way limits, binds, or otherwise affects the rights, powers or duties of any

     state or local law_enforcement agency or any administrative or regulatory authority,




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                23.       Defendant agrees that if he fails to comply with any of the provisions of this

      Agreement, including the failure to tender such Agreement to the Court, makes false or misleading

      statements before the Court or to any agents of the United States, commits any further crimes, or

      attempts to withdraw the plea (prior to or after pleading guilty to the charges identified in paragraph

      one (1) above), the Government will have the right to characterize such conduct as a breach of this

      Agreement. In the event of such a breach: (a) the Government will be free from its obligations

      under the Agreement and further may take whatever position it believes appropriate as to the

      sentence and the conditions of the Defendant's release (for example, should the Defendant commit

      any conduct after the date of this Agreement that would fonn the basis for an increase in the

      Defendant's offense level or justify an upward departure - examples of which include but are not

      limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while

      pending sentencing, and false statements to law enforcement agents, the Probation Officer, or

      Court- the Government is free under this Agreement to seek an increase in the offense level based

      on that post-Agreement conduct); (b) the Defendant will not have the right to withdraw the gqilty

      plea; (c) the Defendant shall be fully subject to criminal prosecution for any other crimes which
                                                                                                                I
      he has committed or might commit, if any, including perjury and obstruction of justice; and (d) the       I   -

      Defe11.dant waives any protections afforded by Section lB 1.8(a) of the Sentencing Guidelines, Rule

      11 of the Federal Rules of Criminal Procedure and Rule 410 of the Federal Rules of Evidence, and

      the Government will be free to use against the Defendant, directly and indirectly, in any criminal

      or civil proceeding any of the information, statements, and materials provided by him pursuant to

     this Agreement, including offering into evidence or otherwise using the attached Agreed Factual

     Basis for G~17ea.


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             24.     This is the entire Agreement and understanding between the United States and the

     Defendant. There are no other agreements, promises, representations or understandings.


                                                mAN ANTONIO GONZALEZ
                                                UNITED STATES ATTORNEY
                                                SOUTHERN DISTRICT OF FLORIDA

                                                JOSEPH BEEMSTERBOER
                                                ACTING CHIEF
                                                FRAUD SECTION, CRIMINAL DIVISION
                                                U.S. DEPART      F JUSTICE


     Date:   ~/4i}                                           UEENAN
                                                       L    ORNEY
                                                      UD SECTION, CRIMINAL !VISION
                                                  .S. DEPARTMENT OF JUS CE



     Date:   1/ J-1/ <1>d.
                                                BL CE FISHMAN

                                                DEF~

     Date:   J/JJ/2.,,. ~                 By:
                                                MA'R                                                    I -
                                                COUNSEL FOR BLAKE FISHMAN




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